So Oe DD NH BR WD PO =

NO N bo NO KH DY KN NO Nw meee
oN TWO AN BPW NY KF DO FH HTD DN BP WD HBO KH |

 

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DIS RICT Cour
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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

 

United States of America, No. GR-21-00855-FHX-DLR (MTM)
Plaintiff,
INDICTMENT
vs.
VIO: 18U.S.C. § 371
(C onspiracy)
1. Webster Batista Fernandez, ount 1
a.k.a. Webster Batista
a.k.a. Eniel Gaetan Hernandez 18 U.S.C. § 1343
a.k.a. Yenddi (Wire Fraud)
Counts 1-30 ounts 2-16
18 U.S.C. § 1957(a)
2. Jose Teran, (Money Laundering)
a.k.a. Jose Medina Counts 17-23
a.k.a. Jose Manuel Medina Teran
a.k.a. Chanel 18 U.S.C. § 1028A(a)(1)
Counts 1-30 (Aggravated Identity Theft)
ounts 24-30
Defendants. 18 U.S.C. § 981(a iO
18 U.S.C. § 982(a)(1
28 U.S.C. § 2461(c)
Forfeiture Allegations

 

 

THE GRAND JURY CHARGES:
At all times material to this indictment, within the District of Arizona and elsewhere:
INTRODUCTION
1. Beginning in 2016 and continuing to the present, WEBSTER BATISTA

 

 
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Co Oe NSD A BR WH BB we

 

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FERNANDEZ (“BATISTA”) and JOSE MEDINA TERAN (“TERAN”) monetized music
they have no lawful rights to monetize or otherwise control. In short, BATISTA and
TERAN, as individuals and through various entities that they operate and control,
fraudulently claimed to have the legal rights to monetize a music library of more than
50,000 songs. BATISTA and TERAN perpetrated their fraud by falsely representing to
Y.T., and to A.R., an intermediary company responsible for enforcing their musical library,
that they were the owners of a wide swath of music and that they were entitled to collect
any resulting royalty payments. As a result of their fraudulent representations, BATISTA,
TERAN, and other unindicted co-conspirators, have reaped royalty payments of more than .
$20,000,000.00. :

2. BATISTA is an individual and citizen of Dominican Republic. BATISTA is
the President of Musika Inc. LLC, CEO of MediaMuv LLC, and the member and statutory
agent of Elegre Records LLC.

3. TERAN is an individual and resident of Arizona. TERAN is the registered
agent and manager of Musika Inc LLC, a member and statutory agent of VA Music Inc, a
member of MediaMuv LLC, and the owner of MuveMusic LLC.

4. On or about April 21, 2017, BATISTA and TERAN—through the entity
MediaMuv LLC—entered into a contract with the company A.R., an entity that administers
Y.T. royalty payments and makes disbursements to those who claim to own music assets.
In its contract, MediaMuv represented that it “(iii) is the writer, author, publisher, copyright
holder, and creator” of a large volume of musical content.

5. MediaMuv further represented that “all Content it delivers to either [A.R.] or
the [Y.T.] [Content Management System]! has not, does not, and will not at any time
infringe on the rights of any third parties including but not limited to copyrights,
Trademarks, rights to privacy, commercial use of names and likeness.”

6. In that same provision, MediaMuv also agreed that if it “knows or suspects

 

! The content management system (“CMS”) is Y.T.’s program that allows a third
party to upload content onto Y.T., and to manage that content.

-2-

 

 

 
So Oo SN DH NW BR WO LH Ke

DO NO HNO NO DN WO NO NO NO wm wee ee ee
Oo ND OO FF WwW NY KF DOD CO Oo st DH nH BP WH PPO &- CO

 

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that any part of the Content is not cleared for commercial use and monetization .. . [it
would] not deliver it to either [A.R.] or the [Y.T.] CMS. [MediaMuv] must have the
permission of any authors of Copyrighted Works included in the Content.”

7. After entering its contract with A.R.—and thereby claiming to have the
permission of every copyrighted work in its 50,000+ musical cataloge—MediaMuv’s
claimed music was uploaded to, and tagged in, Y.T. A.R. was then responsible for
enforcing MediaMuv’s content claims and facilitating all resulting royalty payments from
Y.T. to MediaMuv. |

8. In total, from sometime in 2017, through at least April 30, 2021, ALR.
provided music-based royalty payments to Defendants in the amount of $20,776,517.31.
These royalty payments were solely derived from music MediaMuv fraudulently claimed
to own.

9. Of the 30 highest-grossing artists whose royalties wete paid to MediaMuv,

not a single artist or their authorized representatives received any money:

 

 

 

 

 

 

ARTIST Royalty Payments Payments that
From A.R. to Defendants and/or
MediaMuv (2016- | Their Entities Made
Qtr 1 of 2020) to Artist
J.LP. $132,702.45 $0.00
L.c. $128,339.65 $0.00
CP. $102,626.84 $0.00
G.L. $101,289.09 $0.00
E.P. $87,651.36 $0.00

 

 

 

 

 

 

* The contract defined “content” as “audiovisual (films, television broadcasts, and
videos) and/or audio only assets (including sound recordings and music compositions)
delivered to [A.R.] and/or Y.T. CMS and all associated meta-data including the names,
likenesses, trademarks and trade names in all such media and metadata.”

-3-

 

 

 
So eo HN DH mM BP WO PO

Do wo NYO NY KH NY NY NN NO FF HF FF RPO ee OO ee ee
Co SIO OW BR WO NYO K§ COD OO BH NDT DA NA FSP WO HO KF |]

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VC. $87,073.90 $0.00
GJ. $86,594.97 $0.00
NR. $85,850.19 $0.00
ILA. $81,138.79 $0.00
R. $78,667.47 $0.00
ZE. $78,664.79 $0.00
VE. $78,504.93 $0.00
AM. $77,412.82 $0.00
T.D.L.S. $71,755.62 $0.00
EM. $71,076.88 $0.00
GB. $68,995.53 $0.00
GM. $66,544.97 $0.00
LD.D.T. $65,453.65 $0.00
LIDN. $56,127.42 $0.00
G.L. $55,396.12 $0.00
MH. $51,474.76 $0.00
CG. $49,550.46 $0.00
LR. $49,168.81 $0.00
RA. $48,453.66 $0.00
LA. $42,573.24 $0.00
GN. $37,696.78 $0.00

 

 

 

 

 

 

 
So eo ND Nm BP WW HO

DO wO NH NO NH NY NY HN NO ee He ee ee ee ee
ao saI DN OH FP WY YN YK TD Oo Oo DQ DB A” BP WO WN KF OC

 

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LA. $33,847.50 $0.00
A. $27,347.83 50.00
S. $26,015.88 $0.00

COUNT 1

 

Cc Y
(18 U.S.C. § 371)

10. Beginning as early as in or about November 2016, and continuing to the
present, in the District of Arizona and elsewhere, Defendants BATISTA, TERAN, and
others known and unknown to the Grand Jury, did knowingly combine, conspire,
confederate and agree with other persons known and unknown to the Grand Jury to commit
the following offenses against the United States:

a. Wire Fraud, in violation of 18 U.S.C. § 1343;
b. Money Laundering, in violation of 18 U.S.C. § 1957(a); and
c. Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A(a)(1).

SCHEME TO DEFRAUD
AND OBJECT OF THE CONSPIRACY

11. BATISTA, TERAN, and others, knowingly and intentionally devised a
scheme and artifice to defraud through materially false and fraudulent pretenses, promises,
representations, and material omissions. Through this scheme, Defendants falsely claimed
to own the legal rights to tens of thousands of songs and then reaped music-based royalty
payments for those songs from Y.T. Defendants would use the identities of certain
musicians or persons to facilitate their scheme. Payments to Defendants were made by
interstate wire transactions and sometimes funneled through shell companies. Defendants
engaged in monetary transactions in excess of $10,000 and used the fraudulent proceeds to
purchase high-end items such as cars, jewelry, and properties.

MANNER AND MEANS

12. The manner and means the Defendants and others used to achieve the objects

of the conspiracy and the scheme and artifice to defraud, include the! following:

a. Submitting false representations to Y.T. and other third parties that

-5-

 

 

 
Oo oe ND HW BR WH HP

NY NY NY NY NY NY NY KN NO Be Re RO ee ee ee
oOo ND On FP WD NY —|§ CO OO CO DQ NH AH Bi WO HPO KF OC

 

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13.

 

Defendants and/or their entities had the legal rights to monetize certain

music;

. Engaging a third party to enforce their fraudulent claims to ownership for the

purpose of maximizing royalty payments;

. Intentionally depriving artists, musicians, and record labels of the music-

based royalties to which they were entitled;

. Unlawfully using the identities of others to facilitate the scheme;

. Conducting monetary transactions of the fraudulent proceeds in excess of

$10,000; and
Retaining the proceeds of their fraudulent misrepresentations.
OVERT ACTS

In furtherance of the aforesaid conspiracy, and to achieve the objects of the

conspiracy, Defendants, and others known and unknown to the Grand Jury, committed or
caused to be committed the following overt acts in the District of Arizona, and elsewhere:

a. On or about February 13, 2017, an email from mediamuvtv@hotmail.com

was sent to a Y.T. support email account. “[M]ediamuvtv@hotmail.com”
is registered to BATISTA. The email claimed to represent 50,000+ songs

and requested access to Y.T.’s content management system (“CMS”).

. On or about February 28, 2017, TERAN and BATISTA jointly opened an

account at Bank of America, ending in 7371 and 7384 in the name of

MediaMuv LLC.

. On or about February 28, 2017, MediaMuv LLC was registered with the

Arizona Corporation Commission as a business. TERAN was listed as a

member of MediaMuv LLC.

- On or about March 26, 2017, a conspirator using

“contact@mediamuv.com”—an email address used and controlled by
MediaMuv—delivered the song “Viernes Sin Tu Amor” to A.R. for eventual

upload on the Y.T. platform. Since March of 2017, Defendants have

-6-

 

 
So Om ND On BR WD PPO &

Oo NO NO NBO NHN NY N NN KN HF KF HFS FSF FSF Se eee Re
oN DN UO SF WN K§ CDT CO FH HTD Dn FP WO NYO K CO

 

 

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received more than $24,000 in royalty payments for this song.

e. On or about April 11, 2017, a conspirator using contact@mediamuv.com
delivered the song “La Quise Tanto” to A.R. for eventual upload on the Y.T.
platform. Since April of 2017, Defendants have received more than $30,000
in royalty payments for this song.

f, On or about April 11, 2017, an email from contact@mediamuv.com was sent
to A.R. The email informed A.R. about a change of address for MediaMuv
and was purportedly from J.P. :

g. Onor about April 13, 2017, MediaMuv electronically entered into a Content
Identification and Management Agreement and Sound Recording and
Audiovisual Content License with Y.T.

h. On or about April 21, 2017, MediaMuv entered into a CMS Administration
Agreement (“Y.T. Agreement”) with A.R. The Y.T. Agreement authorized
A.R. to administer MediaMuv’s purported music catalog on the Y.T.
platform. This included receiving royalty payments for all songs played or
otherwise monetized.

i. On or about April 29, 2017, an email from contact@mediamuv.com was sent
to Y.T. The email provided contact@mediamuv.com as the CMS email and
was purportedly from J.P.

j. On or about May 4, 2017, A.R., acting at the direction of the conspirators,
sent an email to Y.T. requesting that Y.T. allow A.R. to bulk clear potential
copyright conflicts from MediaMuv’s entire music catalog.

k. On or about May 4, 2017, MediaMuv delivered the song “Me Llamas” to the
Y.T. web uploader and falsely claimed to own the rights to receive royalty
payments for this song. Since the upload, Defendants have obtained more
than $100,000 in royalty payments from this song. !

1. Onor about May 14, 2017, Y.T. sent an email to copyright@mediamuv.com.
Y.T. email’s confirmed that J.P. had purportedly claimed, under penalties of

-7-

 

 
Oo Oo STD mH BR WY YO

DO NHN BO NY NY DO NO NR RO ae ia ea ea ee ee
oN DN UO FF WN K§ DTD OBO Fe HTD NH BP W HB S&F CO

 

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perjury, that MediaMuv owned “Mi Regalo De Dios-13387.”

. On or about May 15, 2017, Y.T. sent an email to copyright@mediamuv.com.

Y.T. email’s confirmed that J.P. had purportedly claimed, under penalties of
perjury, that MediaMuv owned “Quien Te Dijo Eso -Nativo Feat Tumeyker.”

. On or about August 17, 2017, $546,000 was transferred to an account in the

name of O.B. from an Elegre Records bank account. |

. On or about October 11, 2017, a $129,579.95 payment was made to Tesla

motors from an Elegre Records bank account.

. On or about October 12, 2017, BATISTA obtained a Pennsylvania

identification card in the name of Eniel Gaetan Hernandez.

. On or about December 5, 2017, a $92,754.80 payment was made to Beverly

Hills BMW from an Elegre Records bank account.
On or about December 14, 2017, a $62,500 payment was made to “El Russo”

jewelers from an Elegre Records bank account.

- On or about January 10, 2018, TERAN, using email

jmedina@mediamuv.com, sent an email to A.R. In the email, TERAN
claimed to have new content to upload. !

On or about January 29, 2018, TERAN, using email
jmedina@mediamuv.com, responded to A.R.’s offer to assist in uploading
new content. TERAN refused the assistance and requested full access to the
Y.T. CMS account.

. On or about April 24, 2018, an email from jmedina@mediamuv.com was

sent to A.R. requesting a change in the deposit of mp payments from a
Bank of America account in the name of “Elegre Reco! ds LLC” to a Bank of
America account under the name of “Eniel Gaetan Hernandez”
(xxxxxxx7569). The email was purportedly sent by J.P. On or about April
30, 2018, A.R. sent a deposit of $314,308.01 in royalty proceeds to the Eniel

Gaetan Hernandez Bank of America account XXXXXXX7/5 69.

-8-

 

 

 

 
So Oo ND DH Nn FF WY HN

DO wo NO NO NH YN NY NN NO HF Fe HF HF FEF Fe Ee Se Se
oOo nN DW nH SP WD NO §|§ 3D CO fF SN DW NH BR WO NO KK CO

 

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aa.

On or about May 22, 2018, a third-party complainant, D.H., contacted A.R.
via email. D.H. insisted that A.R. provide copyright reporting and royalty
payments for music-based copyrights that MediaMuv was infringing.
TERAN later responded by reaffirming MediaMuv’s fraudulent claims:
“Any issue that D.H. have with our content, he can email me directly, we
will not issue any revenue share to him or anyone just because he say he has
the right to, we have contracts, and if he have doubts we can keep discussing

this in front of a federal judge thanks.”

. On or about May 22, 2018, TERAN, using email jmedina@mediamuv.com,

sent an email to A.R. TERAN asked A.R. not to respond to a complaint from
a third-party company regarding copyright infringement.

On or about May 23, 2018, a Bank of America account ending in 6280 was
opened for MediaMuv LLC. TERAN and Eniel Gaetan Hernandez were
listed as the authorized signers.

On or about May 23, 2018, TERAN requested that A.R. change the bank
account information back to the Bank of America account for “Elegre
Records LLC” (account xxxxxx2321). As a result, on May 31, 2019, A.R.
deposited $374,726.38 in royalty proceeds to the Elegre Records LLC, Bank
of America account.

On or about June 29, 2018, $220,000 was transferred to an account controlled
by BATISTA from an Elegre Records bank account.

On or about January 9, 2019, TERAN registered Musika Ink LLC in the state
of Florida.

bb.On or about January 31, 2019, $85,818 was transferred to an account

cc.

controlled by TERAN from an Elegre Records bank a¢count.
On or about February 11, 2019, an email from jmedina@mediamuv.com
requested that A.R. update its bank account information for future royalty

deposits to a Bank of America account in the name of “Loris Cleaning LLC”

-9-

 

 
Oo OO SI DH A BP WO HBO =

DB wo NO NO NHN ND NO WN NO KF KF He Fe KF Se em eS ue
oO sa HD NH SP WY NYO Ff CO CO FH ATH NH FS WH NO KH CO

 

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(Xxxxxxx3973). On or about February 28, 2019, A.R. sent a deposit of
$470,675.58 in royalty proceeds to the Lori’s Cleaning LLC, Bank of
America account.

dd. On or about August 20, 2019, TERAN registered MuveMusic LLC with the
Arizona Corporation Commission.

ee. On or about August 22, 2019, TERAN requested that A.R. deposit future
royalty payments into a Chase Bank account in the name of MuveMusic LLC
(xxxxx7351). On or about September 30, 2019, A.R. wired a deposit of
$607,752.08 in royalty proceeds to the MuveMusic LLC, Chase Bank
account.

ff. On or about April 3, 2020, $486,902.76 was transferred to Xpace World
Music from a MuveMusic account.

All in violation of 18 U.S.C. § 371.

COUNTS 2-16
WIRE FRAUD
(18 U.S.C. § 1343)

14. Each of the foregoing allegations are incorporated by reference and re-
alleged as though fully set forth herein.

15. Beginning by at least November 2016 and continuing to the present, in the
District of Arizona and elsewhere, Defendants BATISTA and TERAN, individually and
doing business under the entities described above, along with other individuals and entities
known and unknown to the Grand Jury, knowingly and willfully devised and intended to
devise the above-described scheme and artifice to defraud for the purpose obtaining money
and property by means of materially false and fraudulent pretenses and representations,
and by the concealment and omission of material facts.

16. Onor about the dates listed below, and with each transmission constituting a
separate count, Defendants, for the purpose of executing the scheme and attempting to do
so, caused signals and sounds to be transmitted by means of wire communication in

interstate commerce:

-10-

 

 

 
oC ea NH OO SP WY NHN Ke

pO NO NH WH NH NY WN ND NN KF FF KF KF KF FO OF S| SS
oOo nN DH mA BP WO NY YK DT BO fF Tt DBA fF W NY KF 2

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Count | Onor | Transmission Method Recipient Transmission
About Description
Wire (From)
Date
3 2/13/17 | Email Y.T. (yt-partner- ‘Email claiming that
support@[xxxxx].com) | MediaMuv owns
(mediamuvtv@hotmail. 50,000+ songs,
com) signed by O.L.
3 | A/11/17 | Email AR. Email purportedly
from J.P. that
(J.P. - requested a change of
content@mediamuv.co ‘address for
m) ‘MediaMuv.
4 4/11/17 | Electronic ALR. MediaMuv provided
Transmission ‘A.R. with the song
“La Quise Tanto” for
(contact@mediamuv.co uploading to the
m) YouTube platform.
5 4/21/17 | Email TERAN Fully executed copy
(jmedina@mediamuv.co | of Y.T. CMS
(nxxx@xxxxx.net) m) Administration
Agreement between
‘MediaMuv and A.R.
4/29/17 | Email Y.T. Email purportedly
6 f :
rom J.P. to provide a
(content@mediamuv.c contact email for
om) CMS.
7 5/4/17 | Electronic Y.T. Uploading and
Transmission claiming the song
“Me Llamas,” by
(MediaMuv) JL.P., to_Y.T.
5/5/17 | Electronic Y.T. Uploading and
8 oe ee ;
Transmission claiming C.V.’s
music.
(MediaMuv/A.R.)
9 5/4/17 | Email Y.T. Email from A.R. on
behalf of MediaMuv
(nxXxx@Xxxxx.net) (aXXXX@XXXXXe.co | requesting that
m; YouTube allow bulk
contact@mediamuv.co | clearing of any
m; potential copyright
jXXXX@XXXXX.net; | conflicts.
yt-

 

 

 

-ll-

 

 

 
oOo Oo SND NM BP WY YN eB

BO po NO HN KH WN KN HB RB RR Ree ee oe
SNRRBR BRS CKReRDARAR ORAS

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X.com

XXXXXmedia@XXXKX

 

10

5/14/17

Email

(Y.T.)

com

copyright@mediamuv

 

Y.T. email
confirming J.P.
purported
_affirmation, under
penalties of perjury,
| that MediaMuv
_owned “Mi Regalo
_De Deios-13389.”

 

11

5/15/17

Email

(Y.T.)

com

copyright@mediamuv

-Y.T. email
confirming J.P.
purported
affirmation, under
penalties of perjury,
that MediaMuv
owned “Quien Te
'Dijo Eso- Nativo Feat
| Tumeyker.”

 

12

4/24/18

Email

(J.P. -
jmedina@mediamuv.co
m)

ALR.

nXXX@XXXXX.net

Email purportedly
from J.P. that
‘requested A.R. to
send future deposits
to Eniel Gaetan
Hernandez.

 

13

5/23/18

Email

(jmedina@mediamuv
.com)

A.R. VP of Finance

PXXXX@XXxxx.net

-TERAN emailed
AR. requesting that
all royalty payments
be directed to a bank
| account in the name
of Elegre Records
LLC.

 

14

5/31/18

Wire Transfer

(AR)

MediaMuv

Royalty payment in
the amount of
$374,726.38.

 

15

8/22/19

Email

(jmedina@mediamuv
.com)

A.R. VP of Finance

PXXXX@xxXxxx.net

_TERAN emailed
AR. requesting that
‘all royalty payments
be directed to a new
bank account in the
‘name of MuveMusic
LLC.

 

 

16

 

9/30/19

 

Wire Transfer

(AR)

MediaMuv

 

‘Royalty payment in
‘the amount of

 

$607,752.08.

 

 

-12-

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

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1 All in violation of 18 U.S.C. § 1343.
2 COUNTS 17-23
TRANSACTIONAL MONEY LAUNDERING
3 (18 U.S.C. § 1957(a)) !
4 17. Each of the foregoing allegations are incorporated by reference and re-
5 alleged as though fully set forth herein.
6 18. On the dates listed below, Defendants BATISTA and: TERAN, individually
7| and doing business under the entities described above, along with other individuals and
8 | entities known and unknown to the Grand Jury, knowingly engaged and attempted to
9| engage in the following monetary transactions in the United States in criminally derived
10 property of a value exceeding $10,000, derived from specified unlawful activity, namely
11} the violation of 18 U.S.C. § 1343 (wire fraud), with each instance being a separate count
12) under this indictment:
13
4 ate of " Transaction Financial Description of Transaction
15 Count . Amount Institution P
Transaction !
16 Transfer from Elegre Records
Bank of America account to a
17 Bank of bank account in the name of
18 17 8/17/17 $546,000.00 America O.B. Amount of transfer was
applied to purchase of O.B.’s
19 residence on September 2,
20 2017.
Payment from Elegre
21 i
18 10/11/17 $129,579.95 Bank or Records Bank of America
22 erica account to Tesla motors for
purchase of a 2017 Tesla.
23 Payment from Elegre
4 Bank of Records Bank of America
19 12/5/17 $92,754.80 America account to Beverly Hills
25 BMW for purchase of a 2014
BMW i8.
26
Payment from Elegre
Bank of .
27 20 12/14/17 $62,500.00 America | R&0ords Bank of America
28 account to jeweler “El
-13-

 

 

 
Co ON DN OH PP WY NYO Re

NO wo NH NO NH NY NV NN N YF YF Fe FEF FRO ROO EOO e
Oo NY OO WA SF W NYO KH COT OO HN DHT FP W NY KF CO

 

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Russo” for BATISTA’s
purchasé of jewelry.

 

21

6/29/18

$220,000.00

Bank of
America

Transfer of March 2018
royalties from Elegre
Records Bank of America
account to BATISTA’S
nominee account.

 

 

22

1/31/19

$85,818.00

Bank of
America

Transfer of October 2018
royalties from Elegre
Records Bank of America
account to TERAN’S
nominee account.

 

23

 

 

4/3/20

$486,902.76

 

 

JP Morgan
Chase

 

Transfer of March 2020
royalties from a MuveMusic
Chase account to Xpace
World Music, a BATISTA
entity.

 

All in violation of 18 U.S.C. § 1957(a).

19.
alleged as though fully set forth herein.
20.

COUNTS 24-30
AGGRAVATED IDENTITY THEFT
(18 U.S.C. § 1028A(a)(1))

Each of the foregoing allegations are incorporated ‘by reference and re-

On or about the dates below, in the District of Arizona, Defendants

BATISTA and TERAN, did knowingly transfer, possess, use, without lawful authority, a

means of identification of another person during and in relation to a felony violation

enumerated in 18 U.S.C. § 1028A(c), to wit: Wire Fraud in violation of 18 U.S.C. § 1343,

knowing that the means of identification belonged to another actual person.

 

 

 

 

 

 

 

Count | On or | Identity | Manner in which the Identity Was Utilized
About
Date
24 A/VI/17 J.P. Defendants used J.P.’s identity in an email to offer the
false appearance that J.P. was an employee of
MediaMuv. |
5 4/29/17 J.P. Defendants used J.P.’s identity in an email to offer the
false appearance that J.P. was an employee of

 

 

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on OKO OH BP WD NY KH DCD BO eH AT HD A FSF WH NYO KF S&S

 

|
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MediaMuv. |
5/4/17 J.L.P. | Used J.L.P.’s identity in claiming his music.

 

26
27 5/5/17 C.V. | Used C.V.’s identity in claiming his music.

 

 

8 5/14/17 J.P. Defendants used J.P.’s identity to make a false claim for

 

 

music.

29 S/15/17 JP. Defendants used J.P.’s identity to make a false claim for
music. .

30 4/24/18 J.P. Defendants used J.P.’s identity in an email to offer the

false appearance that J.P. was an employee of
MediaMuv.

 

 

 

 

 

 

All in violation of 18 U.S.C. § 1028A(a)(1).
FORFEITURE ALLEGATIONS
21. Each of the foregoing allegations are incorporated by reference and re-
alleged as though fully set forth herein.
22. Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(1) and 28 U.S.C.
§ 2461(c), upon conviction of one or more of the offenses alleged in counts 1 through 30
above, Defendants shall forfeit to the United States all right, title, and interest in any and
all property, real or personal, involved in such offenses, or in any property traceable to such
property involved in such offenses, including the following: (a) all money or other property
that was the subject of each transaction or transfer in violation of a statute listed in 18
U.S.C. § 982, (b) all other property constituting proceeds obtained as a result of those
violations, and (c) all property used in any manner or part to commit or to facilitate the
commission of those violations, including but not limited to the sum of money representing
the amount of money involved in the offenses. Some property includes the following:
a. Real property located at 1725 W. Burnside Trail, Phoenix, Arizona 85085
b. Contents of PNC Bank business checking accounts XXXXXX2252,
XXXXXX2279, and business savings account XXXXXX4623 in the name
Xpace World Music Corp |
c. Contents of JPMorgan Chase Bank business accounts XXXXX7351 and
XXXXX0180 in the name MuveMusic LLC

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Oo Oo ND Wn FP WY YP =

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oOo nN DH OH SP WW NYO | CO GO fH ANA DB UA F&F WD NO —|& CO

 

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d. 2017 Tesla C 100D, VIN: SYTXCAE27HF070324

e. 2014 BMW i8; VIN: WBY2Z2C51EVX64286

23. If any of the above-described forfeitable property, as a result of any act or
omission by any Defendant, cannot be located upon the exercise of due diligence, has been
transferred, sold to, or deposited with a third party, has been placed beyond the jurisdiction
of the court, had been substantially diminished in value, or has been commingled with other
property and cannot be divided without difficulty, it is the intent of the United States to
seek forfeiture of any other property of that Defendant up to the value of the above-
described forfeitable property, pursuant to 21 U.S.C. § 853(p), as incorporated by 18
U.S.C. § 982(b) and 28 U.S.C. § 2461.

A TRUE BILL

/s
FOREPERSON OF THE GRAND JURY
Date: November 16, 2021

GLENN B. McCORMICK
Acting United States Attorney
District of Arizona

/S

RAYMOND K. WOO
SETH T. GOERTZ
Assistant U.S. Attorneys

 

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